 Case 5:15-cv-01260-DDP-JPR Document 1-1 Filed 06/29/15 Page 1 of 6 Page ID #:4

                                    1%.V
                                                                                     O
                                                                                     OPY
 1    L. Paul Mankin (SBN 264038)
      The Law Office of L. Paul Mankin
 2
      8730 Wilsbire Blvd, Suite 310                                            F! L E D
 3    Beverly Hitls, CA 90211                                                SUPER
                                                                        ~ OUNTY OF SIAiJ BERNARDINO
      800-219-3577                                                       ~SAN BERNARDINO DiSTRICT
 4    323-207-3885
      pmankin@paulmankin.com                                                  MAY J, 2015
 5
 6    Attorney for Plaintiff                                                 •    41

 7
                                                                         essica Garuz DEPU
                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
 a                             COUNTY OF SAN BERNARDINO
 9
                                  I.IMITED JURISDICTION

10
                                                        Case No.              L.-L%jpS15062Z2
11
     I BILL UZETA, an individual,
12
                                                        COMPLAINT FOR VIOLATION
     I Plaintiff,                                       OF ROSENTHAL FAIR DEBT
13                                                      COLLECTION PRACTICES ACT AND
               vs.                                      FEDERAL FAIR DEBT COLLECTION
14
                                                        PRACTICES ACT
15    ASSET ACCEPTANCE, LLC, and DOES 1;
      THROUGH 10,                      :                       I. Violation of Rosenthal Fair Debt
16                                                                 Collection Practices Act
     I Defendant.                                              2. Violation of Fair Debt Collection
17
                                                                   Practices Act
18                                                             3. Violation ofTelephone Consumer
                                                                   Protection Act
19

20
21
                                           1. INTRODUCTION
22
               1. This is an action for damages brought by an individual consumer for Defendant's
23
     I violations of the Rosenthal Fair Debt Collection Practices Act, Cal Civ Code § 1788, et seq.
24
25   (hereinafter "RFDCPA") and the Fair Debt Collection Practices Act, 15 U.S.C. §1692, et seq.

26   (hereinafter "FDCPA"), both of which prohibit debt collectors from engaging in abusive,
27
     deceptive, and unfair practices. Ancillary to the claims above, Plaintiff further alleges claims
2s




                                               Complaint - 1
 Case 5:15-cv-01260-DDP-JPR Document 1-1 Filed 06/29/15 Page 2 of 6 Page ID #:5




 1   for Defendant's violations of the Telephone Consumer Protection Act., 47 U.S.C. §227, et seq.

 2   (hereinafter "TCPA").
 3
                                            II. PARTIES
 4
 S          2.      Plaintiff, Bill Uzeta ("Plaintiff'), is a natural person residing in San Bernardino

 6   County, in the State of California, and is a"consumer" as defned by the FDCPA, 15 U.S.C.

 7§1692a(3)      and is a"debtor" as defined by Cal Civ Code § 1788.2(h).
s
            3.      At all relevant times herein, Defendant, Asset Acceptance, LLC, ("Defendant")
 9
     was a company engaged, by use of the mails and telephone, in the business of collecting a debt I
lo
tI   from Plaintiff which qual ifies as a"debt," as defined by 15 U.S.C. § 1692a(5), and a"consumer

12   debt," as defined by Cal Civ Code §1788.2(f). Defendant regularly attempts to collect debts
13   alleged to be due another, and therefore is a"debt collector" as defined by the FDCPA, 15
14
     U.S.C. §1692a(6), and RFDCPA, Cal Civ Code §1788.2(c).
15
                                    11I. FACTUAL ALLEGATIONS
16

17          4.      At various and multiple times prior to the filing of the instant complaint,

18   including within the one year preceding the filing of this complaint, Defendant contacted

19   Plaintiff in an attempt to collect an alleged outstanding debt
20
            5.      Defendant usually contacted Plaintiffusing telephone number 877-850-0087.
21

22
            6.      On information and belief, Plaintiffreceived, on average, at least one collection

23   call per day from Defendant.

24          7.      On infonnation and belief, Plaintiffreceived, on average, five collection calls
2s
     per week from Defendant.
26
            8.      On multiple occasions, Plaintiff informed Defendant that he is disabled and out
27
28   of work. Consequently, Plaintiff demanded that Defendant stop contacting him due to the




                                                 Comp2aint - 2
!
     Case 5:15-cv-01260-DDP-JPR Document 1-1 Filed 06/29/15 Page 3 of 6 Page ID #:6

                                           1%W                                        1
                                                                                      . 04




     1,   calls being harassing and his inability to repay any of the alleged debt.
    2
                 9.       In response, Defendant continued to contact Plaintiff daily in an attempt to
    3
          collect the alleged debt.
     4

                 10.      Moreover, Defendant stated, on multiple occasions, that Plaintiff must still make
     5

     6    a payment immediately and that Plaintiff should pay the alleged debt with another person's

    7     credit card or else a lawsuit will most likely be filed against him.
    s
                 11.      On information and belief, Plaintiff alleges that Defendant had no intention of
     9
          filing a lawsuit against Plaintiff.
    lo
    11
                 12.      Moreover, Defendant contacted Plaintiff on his new cellular telephone number.

    12           13.      On information and belief, Defendant contacted Plaintifff using an Automatic
    13
          Telephone Dialing System. After answering the telephone, there is typically a two to three
    14
          second pause before a live representative is connected to the call. On information and belief,
    15
          Plaintiffalso alleges that he was called with a pre-recorded message from Defendant.
    16

    17           14.      At no time did Plaintiff ever provide Defendant with permission to contact him

    ls    using an ATDS on his new cellular telephone number.
    19
                 15.      Defendant's conduct violated the FDCPA and the RFDCPA in multiple ways,
    20
          including but not limited to:
    21
                       a) Engaging in conduct the natural consequence of which is to
    22
                          harass, oppress, or abuse Plaintiff(§1692d);
    23
                       b) Causing Plaintiffs telephone to ring repeatedly or continuously
    24                    with intent to harass, annoy or abuse Plaintiff (§ 1692d(5));
    25
                       c) Communicating with Plaintiff at times or places which were
    26                    known or should have been known to be inconvenient for
                          Plaintiff (§ 1692c(a)(1));
    27

    2s




                                                      Complaint - 3
 Case 5:15-cv-01260-DDP-JPR Document 1-1 Filed 06/29/15 Page 4 of 6 Page ID #:7

                                      1~1.w                                        I"W


 1              d) Threatening a consumer with legal action without the intention of
                   filing such an action (§1692e(5));
2

3                  e) Causing a telephone to ring repeatedly or continuously to annoy
                      Plaintiff(Cal Civ Code §1788.11(d));
4

5
                   f) Communicating, by telephone or in person, with Plaintiff with
                      such frequency as to be unreasonabie and to constitute an
6                     harassment to Plaintiff under the circumstances
                      (Cal Civ Code § 1788.11(e)).
 7
8            16.      Defendant's conduct violated the TCPA by:

 9                 a) using any automatic telephone dialing system or an artificial or pre-recorded
10
                       voice to any telephone number assigned to a paging service, cellular telephone
                       service, specialized mobile radio service, or other radio common carrier service,
11                     or any service for which the called party is charged for the call (47 USC
                       §227(b)(A)(iii)).
12

13           17.      As a result of the above violations of the FDCPA, RFDCPA, and TCPA,

14   Plaintiff suffered and continues to suffer injury to Plaintiil's feelings, personal humiliation,
15
     embarrassment, mental anguish and emotional distress, and Defendant is liable to Plaintiff for
16
     Plaintiff s actual damages, statutory damages, and costs and attorney's fees.
17
             18.      Additionally, as a result of Plaintiff being disabled as defined under California
18

19   I Civil Code Section 3345, and as a consequence of Asset Acceptance LLC's wrongful actions,

20   Plaintiff is entitled to a trebling of any damaged imposed by the trier of fact pursuant to
21
     California Civil Code Section 3294.
22
                               COUNT I[: VIOLATION OF ROSENTHAL
23                           FAIR DEBT COLLECTION PRACTICES ACT
24
             19.      Plaintiff reincorporates by reference all of the preceding paragraphs.
25
             20.      To the extent that Defendant's actions, counted above, violated the RFDCPA,
26

27
     I those actions were done knowingly and willfully.

28




                                                  Complaint - 4
 Case 5:15-cv-01260-DDP-JPR Document 1-1 Filed 06/29/15 Page 5 of 6 Page ID #:8

                                    11%W                                        ~



I■                                         PRAYER FOR RELIEF
m
            WHEREFORE, Plaintiff respectfully prays that judgment be entered against Defendant
3
     for the following:
 4
                    A.     Actual damages;
5
                    B.     Statutory damages for willful and negligent violations;
6                   C.     Costs and reasonable attorney's fees,
                    D.     For such other and further relief as may be just and proper.
 7

s                             COUNT II: VIOLATION OF FAIR DEBT
                                COLLECTION MCTICES ACT
 9

lo          21.     Plaintiff reincorporates by reference all of the preceding paragraphs.

11                                         PRAYER FOR RELIEF
12
            WHEREFORE, Plaintiff respectfully prays that judgment be entered against Defendant
13
     for the following:
14
                    A.     Actual damages;
15
                    B.     Statutory damages;
16                  C.     Costs and reasonable attorney's fees; and,
                    D.     For such other and further relief as may be just and proper.
17

]s
                          COUNT III: VIOLATION OF TELEPHONE CONSUMER
19                                          PROTECTION ACT
20          22.     Plaintiff reincorporates by reference all of the preceding paragraphs.
21
            23.     To the extent that Defendant's actions, counted above, violated the TCPA, those
22
     actions were done latowingly and willfully
23
                                           PRAYER FOR RELIEF
24

25          WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

26   Defendant for the following:
29
     //
2s




                                                Complaint - 5
 Case 5:15-cv-01260-DDP-JPR Document 1-1 Filed 06/29/15 Page 6 of 6 Page ID #:9

                            ~

 1           A.     Actual damages;
             B.     Statutory damages for willful and negligent violations;
2
             C.     Costs and reasonable attorney's fees; and
 3           D.     For such other and further relief as may be just and proper.

 4
               PLAINTIFF HEREBY REOUESTS A TRIAL BY JURY
 5 I

 6           Respectfully submitted this April 29, 2015.

 7

 8
                                    By:
 9                                          L. Paul Mankin
                                            Law Offices of L. Paul Mankin
]0                                          Attorney for Plaintiff
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                          Complaint - 6
